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18                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MONTANA
19                                       MISSOULA DIVISION
20    JUDITH NEWMAN,                                    Cause No. 9:13-CV-00047-DLC
21    as Personal Representative
      of the Estate of Karlye Newman,                   PLAINTIFF’S STATEMENT OF
22                                                      UNDISPUTED FACTS
                        Plaintiff,
23    vs.
24    UNITED FIRE AND CASUALTY
25    COMPANY,

26                      Defendant.

27
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 1           COMES NOW Plaintiff, and submits her Statement of Undisputed Facts
 2   pursuant to Local Rule 56.1(a).
 3   1.      Karlye Newman died at age 16 on October 7, 2004 in Sanders County,
 4           Montana. (United Fire and Casualty Company Answer and Demand for
 5           Jury Trial “Answer”, Dkt #3, ¶3.)
 6   2.      Following Karlye’s death, Plaintiff Judith Newman filed a lawsuit for
 7           wrongful death, survivorship, and other causes of action in Sanders County
 8           District Court Cause No. DV-06-164. (Answer, Dkt #3, ¶3.)
 9   3.      One of the defendants in that lawsuit was National Contract Services, LLC
10           (hereafter “National”). (Answer, Dkt #3, ¶4.)
11   4.      National was the insured under a United Fire and Casualty Company
12           (UFCC) Commercial General Liability Insurance Policy, and a Commercial
13           Umbrella Liability Policy, both with the policy no. 104-60069871. (Answer,
14           Dkt #3, ¶4.; Commercial General Policy, Ex. A; Commercial Umbrella
15           Policy, Ex. B.)
16   5.      The underlying complaint alleged the following facts:
17           a.       National was a limited liability company organized under the laws of
18                    the State of Nevada (Third Amended Complaint, Ex. C, ¶25.)
19           b.       National was one company of a large web of interlocking companies
20                    run by a man named Robert Lichfield, who ran behavior modification
21                    residential programs for youth. (Ex. C, ¶¶2-38.)
22           c.       One of the programs was Spring Creek Lodge in Montana. (Ex. C,
23                    ¶¶2-7. )
24           d.       Karlye Newman resided at Spring Creek Lodge from March 31, 2004
25                    to October 7, 2004 when she died by suicide. (Ex. C, ¶¶50-80.)
26           e.       National purported to provide the following services to Spring Creek
27
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 1                    Lodge: marketing, promotion, admissions, seminars, newsletters,
 2                    support services, academic course outline, curriculum, manuals,
 3                    training outlines, consulting, billing, and collections. (Ex. C, ¶27. )
 4           f.       National, and the other related businesses, were formed solely for
 5                    purposes of facilitating a scheme to defraud the parents who sent their
 6                    children to Spring Creek Lodge and for shielding the true owner from
 7                    liability. (Ex. C, ¶35.)
 8           g.       National was jointly liable for a wide range of negligent and
 9                    intentional tortious conduct by numerous other named defendants.
10                    (Ex. C, ¶¶38, 82, 89-90.)
11           h.       Karlye Newman was generally neglected and abused at Spring Creek.
12                    (Ex. C, ¶¶51-80.)
13           i.       She became suicidal, and on October 7, 2004, Spring Creek “lost” her
14                    for a period of time and she hanged herself. (Ex. C, ¶¶76-78.)
15           j.       The untrained, unqualified person who was supposed to be in charge
16                    of Karlye found her hanging, still alive, and rather than helping
17                    Karlye, ran out of the building screaming in panic. (Ex. C, ¶¶79-80.)
18           k.       Many of the services National claimed to provide Spring Creek
19                    Lodge were inadequate and contributed to Karlye’s suffering and
20                    eventual death, such as misleading marketing, wrongful admission to
21                    the program, poor educational services, and negligent training. (Ex.
22                    C,¶¶42-80.)
23   6.      National tendered defense of the lawsuit to UFCC. (Answer, Dkt #3, ¶6;
24           Correspondence Ex. D.)
25   7.      UFCC refused defense and indemnity. (Answer, Dkt #3, ¶6, Ex. D.)
26   8.      Because of UFCC’s refusal to defend National, National was forced to pay
27
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 1           for its own defense costs and was exposed to potential financial risk.
 2           (Answer, Dkt #3, ¶7.)
 3   9.      Plaintiff’s counsel wrote UFCC on January 19, 2010 offering to settle her
 4           claim against National for what counsel believed was the policy limit based
 5           on documents produced through discovery. (Ex. D.)
 6   10.     Plaintiff’s counsel invited UFCC to participate in a February 19, 2010
 7           court-ordered mediation. (Ex. D.)
 8   11.     Plaintiff’s counsel further notified UFCC that if it failed to appear and
 9           participate, Plaintiff may negotiate and enter into a settlement with National,
10           resulting in a judgment that UFCC would have to pay. (Ex. D.)
11   12.     UFCC refused to participate. (Answer, Dkt #3, ¶8; Ex. D.)
12   13.     At the mediation, National entered into a compromise settlement agreement
13           with the Plaintiff. (Answer, Dkt #3, ¶9.)
14   14.     As part of that settlement, National agreed to entry of a judgment, and
15           assigned to the Plaintiff all of National’s first party claims it might have
16           against UFCC. (Answer, Dkt #3, ¶9.)
17   15.     On March 26, 2010, the parties to Sanders County Cause No. DV-06-164
18           appeared before the District Court for hearing, for approval of the settlement
19           agreement, and for entry of the agreed-upon judgment. (Answer, Dkt #3,
20           ¶11.)
21   16.     Plaintiff produced testimony and exhibits. (Findings, Conclusions, and
22           Order, Ex. E.)
23   17.     On March 29, 2010, the District Court entered its Findings, Conclusions and
24           Order approving the settlement, and awarded judgment against National in
25           the amount of the settlement, $3,000,000. (Answer, Dkt #3, ¶12; Ex. E;
26           Partial Judgment Against National Contract Services, LLC, Ex. F.)
27
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 1   18.     UFCC denied defense and indemnity to National on the basis of a
 2           Designated Premises Endorsement in the Commercial General Policy. (Ex.
 3           D.)
 4   19.     UFCC provided no analysis on whether there was a duty to defend under the
 5           Commercial Umbrella Policy, also policy # 6069871. (Ex. D.)
 6   20.     In denying defense to National, UFCC stated:
 7           “The complaint clearly alleges that the deceased hung herself at a location
 8           known (sic) as Spring Creek, a boarding school not located on the above
 9           described premises. Based on the endorsement, there is no coverage for this
10           unfortunate event because it did not occur on the above described
11           premises.” (Ex. D.)
12   21.     The relevant coverage language of the 2004/2005 UFCC Commercial
13           General policy states:
14           COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
15           LIABILITY
16           1.       Insuring Agreement
17                    a.       We will pay those sums that the insured becomes legally
                               obligated to pay as damages because of “bodily injury” or
18                             “property damage” to which the insurance applies. We will
                               have the right and duty to defend the insured against any “suit”
19                             seeking those damages. However, we will have no duty to
                               defend the insured against any “suit” seeking damages for
20                             “bodily injury” or “property damage” to which this insurance
                               does not apply. We may, at our discretion, investigate any
21                             “occurrence” and settle any claim or “suit” that may result.
22                    * * *
23                    b.       This insurance applies to “bodily injury” and “property
                               damage” only if:
24
                      (1) The “bodily injury” or “property damage” is caused by an
25                    “occurrence’ that takes place in the “coverage territory”;
26                    (2) The “bodily injury” or “property damage” occurs during the
                      policy period; and
27
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 1
                      * * *
 2
             “Bodily injury” means bodily injury, sickness or disease sustained by a
 3           person, including death resulting from any of these at any time.
 4           “Coverage Territory” means the United States of America (including its
             territories and possessions), Puerto Rico and Canada; . . .
 5
             “Occurrence” means an accident, including continuous or repeated exposure
 6           to substantially the same general harmful conditions.
 7   (UFCC Commercial General Policy, Ex. A, Bates Stamp UF000016, 28, 29.)
 8   22.     The Designated Premises Endorsement states:
 9    LIMITATION OF COVERAGE TO DESIGNATED PREMISES OR PROJECT
10           This endorsement modifies the insurance provided under the following:
11           COMMERCIAL GENERAL LIABILITY COVERAGE PART
12                                               SCHEDULE
13    Premises:
14    AS SHOWN ON DEC
15    Project:
16
17 (If no entry appears above, information required to complete this endorsement will
18 be shown in the Declarations as applicable to this endorsement.)
19 This  insurance applies only to “bodily injury”, “property damage”, “personal and
   advertising injury” and medical expenses arising out of:
20           1.       The ownership, maintenance or use of the premises shown in the
21                    Schedule and operations necessary or incidental to those premises; or

22           2.       The project shown in the Schedule.

23   (Ex. A, Bates Stamp UF000004.)

24   23.     The Premises is listed on the Declarations as: 158 W 1600 S #15, St.

25           George, UT 84770. (Ex. A, Bates Stamp UF000002.)

26   24.     UFCC’s 2004/2005 Commercial Umbrella Policy states:

27           COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE

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 1           LIABILITY
 2           1.       Insuring Agreement
 3           We will pay on behalf of the insured for ultimate net loss in excess of the
             retained limit because of bodily injury or property damage to which this
 4           insurance applies. No other obligation or liability to pay sums or performs
             acts or services is covered unless explicitly provided for under SECTION II
 5           - DEFENSE AND SUPPLEMENTARY PAYMENTS - COVERAGES A
             and B.
 6
             It is agreed that:
 7
             a.       The bodily injury or property damage must occur during the policy
 8                    period of this policy;
 9           * * *
10           d.       The bodily injury or property damage must be caused by an
                      occurrence; and
11
             e.       The occurrence must take place in the coverage territory.
12
     (Ex. B, Bates Stamp UF000117.)
13
             “Bodily Injury” means bodily injury, sickness or disease sustained by a
14           person including death resulting from any of these at any time.
15           “Coverage Territory” means anywhere in the world if the insured’s
             responsibility to pay damages is determined in a suit on the merits, in the
16           United States of America (including the territories and possessions), Puerto
             Rico or Canada, on in a settlement we agree to.
17
             “Occurrence” means:
18
             a.       With respect to bodily injury or property damage, an accident,
19                    including continuous or repeated exposure to substantially the same
                      general harmful conditions. . .
20
     (Ex. B, Bates Stamp, UF000129,130, 131.)
21
     25.     In regards to UFCC’s duty to defend, the Umbrella policy states:
22
             SECTION II - DEFENSE AND SUPPLEMENTARY PAYMENTS -
23           COVERAGES A AND B
24           We have the right to associate with the underlying insurer and the insured to
             defend any claim or suit seeking damages for bodily injury, property
25           damage, personal and advertising injury to which this insurance applies.
             But
26
             1.       The amount we will pay for ultimate net loss is limited as described in
27
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 1                    SECTION IV - LIMIT OF INSURANCE.
 2           2.       We have a duty to defend any claims or suits not covered by any
                      underlying insurance shown in the Declarations; we also have the
 3                    duty to defend such claims or suits if the applicable limit of
                      underlying insurance is exhausted;
 4
             * * *
 5
     (Commercial Umbrella Policy, Ex. B. Bates Stamp UF000123.)
 6
             DATED this 22nd day of April, 2013.
 7
 8                                                          /s/ Ann L. Moderie
                                                            Ann L. Moderie
 9                                                          Counsel for Plaintiff
10                                      CERTIFICATE OF SERVICE
11         I hereby certify that, on April 22nd , 2013, a copy of the foregoing document
     was served on the following persons by the following means:
12
    X                 CM/ECF
13 ____               Hand Delivery
   ____               Mail
14 ____               Overnight Delivery Service
   ____               Fax
15 ____               Email
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             Dennis P. Clarke, Esq.
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18           Great Falls, MT 59403-2227
19                                                          /s/ Ann L. Moderie
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20                                                          Counsel for Plaintiff
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